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                       IN THE UNITED STATES DISTRICT COURT
7                                DISTRICT OF ARIZONA
8    United States of America,             ) Case No.: CR-23-0040-001-PHX-SMB
                                           )
9                                          )
                  Plaintiff,               )
10                                         ) ORDER
           vs.                             )
11
                                           )
12                                         ) (Third Request)
     Diana Marie Moore,                    )
13                                         )
14
                                           ) Defendant is Out of Custody
                  Defendant.               )
15
16         Upon Motion of Defendant, Diana Marie Moore, Assistant U.S. Attorney Aron J.
17
     Ketchel having no objection, and good cause appearing therefrom;
18
19         IT IS ORDERED granting Defendant’s Amended Third Motion to Continue
20
     Sentencing (Doc. 62).
21
22         IT IS FURHTER ORDERED continuing the July 15, 2024 Sentencing Hearing
23
     to August 19, 2024 at 2:30 p.m. in courtroom 502 before Judge Susan M. Brnovich.
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25         Dated this 28th day of June, 2024.
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